      Case 4:10-cr-00258 Document 584 Filed on 01/22/16 in TXSD Page 1 of 1
                                                                                 United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                      IN THE UNITED STATES DISTRICT COURT                           January 22, 2016
                                                                                   David J. Bradley, Clerk
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                      §
                                              §
                                              §
                                              §
VS.                                           §     CRIMINAL ACTION NO. H-10-258-04
                                              §
                                              §
                                              §
PATRICK LANIER                                §

                                         ORDER

       The defendant Patrick Lanier filed an unopposed motion for continuance of the sentencing

hearing, (Docket Entry No. 578). The motion for continuance is GRANTED. Objections to the

presentence report are to be filed by January 30, 2016. Lanier’s sentencing hearing is reset to

March 1, 2016 at 9:30 a.m.

              SIGNED on January 22, 2016, at Houston, Texas.

                                                  ______________________________________
                                                           Lee H. Rosenthal
                                                     United States District Judge
